                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

UNITED STATES OF AMERICA                              )
                                                      )       Case No. 1:94-cr-118
vs.                                                   )
                                                      )       MATTICE/CARTER
ANTONIEA V. SUMMERROW                                 )



                                 MEMORANDUM AND ORDER

        The defendant appeared for a hearing before the undersigned on September 8, 2011, in
accordance with Rule 32.1 of the Federal Rules of Criminal Procedure on the Petition for Warrant
for Offender Under Supervision (Petition) of U.S. Probation Officer Kevin Matherly and the Warrant
for Arrest issued by U.S. District Judge Harry S. Mattice, Jr. Those present for the hearing included:

               (1) AUSA Steve Neff for the USA.
               (2) The defendant ANTONIEA V. SUMMERROW.
               (3) Attorney Anthony Martinez for defendant.
               (4) Deputy Clerk Kelli Jones.

        After being sworn in due form of law the defendant was informed or reminded of his
privilege against self-incrimination accorded him under the 5th Amendment to the United States
Constitution.

       It was determined the defendant wished to be represented by an attorney and he qualified for
the appointment of an attorney to represent him at government expense. Federal Defender Services
of Eastern Tennessee, Inc. was APPOINTED to represent the defendant. It was determined the
defendant had been provided with a copy of the Petition and the Warrant for Arrest and had the
opportunity of reviewing those documents with Atty. Martinez. It was also determined the defendant
was capable of being able to read and understand the copy of the aforesaid documents he had been
provided.

       Defendant waived his right to a preliminary hearing and detention hearing.

       AUSA Neff moved defendant be detained without bail pending his revocation hearing before
U.S. District Judge Harry S. Mattice, Jr.

                                              Findings

       (1) Based upon U.S. Probation Officer Kevin Matherly’s petition and defendant’s

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     waiver of preliminary hearing and detention hearing, the undersigned finds there is
     probable cause to believe defendant has committed violations of his conditions of
     supervised release as alleged in the petition.

                                        Conclusions

     It is ORDERED:

     (1) The defendant shall be appear in a revocation hearing before U.S. District Judge
     Harry S. Mattice, Jr.

     (2) The motion of AUSA Neff that defendant be DETAINED WITHOUT BAIL
     pending his revocation hearing before Judge Mattice is GRANTED.

     (3) The U.S. Marshal shall transport defendant to a revocation hearing before Judge
     Mattice on Monday, September 26, 2011, at 2:00 pm.

     ENTER.


                                           s/William B. Mitchell Carter
                                           UNITED STATES MAGISTRATE JUDGE




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